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              IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION


ACACIA WILLIAMS et al.,

                  Plaintiffs,

v.                                              CASE NO. 1:20cv67-RH-GRJ

RON DESANTIS et al.,

          Defendants.
___________________________________________________/

KIRK NIELSEN et al.,

                  Plaintiffs,

v.                                              CASE NO. 4:20cv236-RH-MJF

RON DESANTIS et al.,

          Defendants.
___________________________________________________/


              ORDER REQUIRING A MORE DEFINITE STATEMENT


         By noon on May 26, 2020, the plaintiffs in No. 1:20cv67 must file a succinct

more definite statement with two numbered lists. The first must list the acts or

failures to act that the plaintiffs assert are unconstitutional or unlawful. The list

should include no argument, unnecessary detail, or clutter and thus should include

a description such as “failure to provide a method for a blind plaintiff to cast a

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secret ballot remotely” or “failure to provide postage for mailing in a ballot.” The

second list must identify, for each item on the first list, the plaintiffs who assert the

claim and the defendants against whom they assert it. The more definite statement

need not list the constitutional or statutory provision on which the plaintiffs base a

claim.

         SO ORDERED on May 24, 2020.

                                  s/Robert L. Hinkle
                                  United States District Judge




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